UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
won ne nnn nena en ee ne ee ee x Docket No.: 12-CV-2149

SHERRY GRANT,

Plaintiff,
AMENDED COMPLAINT

-against-

UNITED FEDERATION OF TEACHERS, UNITED

CEREBRAL PALSY OF NEW YORK CITY, INC., DEMAND FOR JURY
EVERETT WATTS, and PATRICIA TRAYNOR, TRIAL

Defendants.
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Plaintiff SHERRY GRANT, by her attorneys Precious C. Aneji, Esq. and Kathy A.
Pohas, Attorney-at-Law, complaining of the Defendants UNITED FEDERATION OF
TEACHERS, UNITED CEREBRAL PALSY OF NEW YORK CITY, INC., EVERETT
WATTS, and PATRICIA TRAYNOR, upon information and belief, alleges as follows:
NATURE OF ACTION
1, This action is brought to remedy:
(a) Defendant United Federation of Teachers’ (hereinafter also “UFT”) breach
of its duty of fair representation, in violation of the Labor Management
Relations Act;
(b) Defendant United Cerebral Palsy of New York City, Inc.’s, Defendant
Everett Watts’, and Defendant Patricia Traynor’s breach of the Collective
Bargaining Agreement between UCP and UFT, of which Plaintiff is a
beneficiary, in violation of the National Labor Relations Action and the
Labor Management Relations Act;

(c) Defendant United Federation of Teachers’ retaliation against Plaintiff for
engaging in protected activity, in violation of the New York State Human
Rights Law; and
(d) Defendant United Federation of Teachers’ retaliation against Plaintiff for
engaging in protected activity, in violation of the New York City Human
Rights Law.
JURISDICTION AND VENUE

2, Jurisdiction is specifically conferred upon this Court by Labor Management
Relations Act, Section 301. This Court has pendent and supplemental jurisdiction over
Plaintiff's state law and city law claims, as the facts that form the basis of the state and city law
claims are substantially similar to the facts that form the basis of the federal law claims.

3. Venue is proper because the incidents complained of in this lawsuit occurred in
the Eastern District of New York and duly authorized officers or agents of the United Federation
of Teachers are engaged in representing or acting for employee members in the Eastern District
of New York.

PARTIES

4. During all times relevant and material to this complaint, Plaintiff Sherry Grant
was a member of the labor organization United Federation of Teachers and an employee of
United Cerebral Palsy of New York City, Inc. within the meaning of the National Labor
Relations Act and the Labor Management Relations Act.

5. During all times relevant and material to this Complaint, Defendant United
Federation of Teachers was a “labor organization” within the meaning of the Labor Management
Relations Act and the National Labor Relations Act and maintained its principal place of

business at 52 Broadway, New York, NY 10004.

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6. During all times relevant and material to this Complaint, Defendant United
Cerebral Palsy of New York, Inc. was an “employer” within the meaning of the Labor
Management Relations Act and the National Labor Relations Act and maintained its principal
place of business at 80 Maiden Lane, New York, NY 10038.

7. During all times relevant and material to this Complaint, Plaintiff was the
beneficiary of a Collective Bargaining Agreement between United Federation of Teachers and
United Cerebral Palsy of New York City, Inc., in effect from December 30, 2009 to June 29,
2012, annexed hereto.

8. During all times relevant and material to this Complaint, Defendant Everett Watts
was an employee and agent of Defendant United Cerebral Palsy of New York City, Inc. He was
employed as a Residential Program Director at UCP’s Landings site/unit and had an office at 620
Louisiana Avenue, Brooklyn, New York 11239.

9, During all times relevant and material to this Complaint, Defendant Patricia
Traynor was an employee and agent of Defendant United Cerebral Palsy of New York City, Inc.

FACTUAL ALLEGATIONS

10, Plaintiff Sherry Grant has been a Residential Program Specialist with Defendant
United Cerebral Palsy of New York City, Inc. (hereinafter also “UCP”) since 2000. She has
been a member of the labor organization, United Federation of Teachers, for several years. She
is covered by the Collective Bargaining Agreement in effect from December 30, 2009 to June
29, 2012 between United Cerebral Palsy of New York City, Inc. and United Federation of
Teachers acting on behalf of Plaintiff and other employees of UCP. A copy of the Collective
Bargaining Agreement is annexed hereto.

ll. Plaintiff has had a pending lawsuit against UCP since early 2011, in which she

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asserts claims against UCP of sex discrimination and retaliation for engaging in protected
activity. That lawsuit is Sherry Grant v. United Cerebral Palsy of New York City, Inc.. et al.. 11-
CV-0018 and is pending in the United States District Court, Southern District of New York.
Prior to bringing that lawsuit, she had made complaints against UCP to the New York State
Division of Human Rights and the U.S. Equal Employment Opportunity Commission of sex
discrimination and retaliation for engaging in protected activity, namely for complaining about
sex discrimination. She had also complained about sex discrimination to managerial staff at
UCP.

12. In October 2011, Plaintiff was questioned by UCP about false allegations that she
was heard saying that a consumer should burn to death. Upon information and belief, two of her
co-workers at UCP’s Landings unit/site in Brooklyn were also the target of false allegations
concerning the same consumer. However, UCP treated Plaintiff much differently than the other
two employees against whom allegations were made. UCP allowed the two other co-workers to
work while the investigation into the allegations against them was pending but sent Plaintiff
home to wait for the outcome of the investigation.

13. Later in October 2011, UCP informed Plaintiff that the allegations against her had
been determined to be unfounded, but instead of allowing Plaintiff to return to work at the
Landings unit/site, UCP arbitrarily and capriciously transferred her to another site on or about
November 2, 2011 -- the E. 51" Street site in Brooklyn -- where she was scheduled for ten hours
less, and therefore paid less, than at the Landings site. Everett Watts, the Residential Program
Director at the Landings site, was involved in making this transfer. The two co-workers whom
upon information and belief had also been the target of allegations concerning the same

consumer were not transferred from the Landings site and did not sustain a reduction in hours
and wages like Plaintiff did. The arbitrariness and capriciousness of Defendants UCP’s and
Everett Watts’ adverse transfer of Plaintiff stemmed from their efforts to further retaliate against
Plaintiff for complaining about sex discrimination and for complaining about retaliation.
Defendants UCP and Everett Watts breached several provisions of the Collective Bargaining
Agreement by making this transfer of Plaintiff. By reducing Plaintiff's hours from the number of
hours she worked at the Landings site even though there was not a lack of work and even though
less senior employees’ hours were not reduced, Defendants UCP and Everett Watts violated
Section A(1) of Article 25 (Hours of Work) of the Collective Bargaining Agreement.
Defendants UCP and Everett Watts breached Section D of Article 27 (Vacancies, Transfers,
Promotions, Layoffs, and Recalls) of the Collective Bargaining Agreement by arbitrarily and
capriciously transferring Plaintiff from the Landings site to the E. 51" St. site, without any basis
for disciplining Plaintiff, against Plaintiff's will, without Plaintiff's consent, and ahead of less
senior employees. Defendants UCP and Everett Watts breached Section B of Article 28 (Due
Process) of the Collective Bargaining Agreement by transferring Plaintiff from the Landings site
to the E. 51® Street site without just cause, against her will, and without her consent.

14, On or about November 3, 2011, Plaintiff asked Defendant United Federation of
Teachers to file a grievance on her behalf regarding the transfer. Defendant UFT was aware that
the allegations made against Plaintiff had been determined to be unfounded, that UCP had no just
cause for transferring Plaintiff, that Plaintiff was transferred ahead of less senior employees, that
the transfer resulted in a reduction in her wages, that Plaintiff was transferred against her will
and without her consent, and that UCP breached the Collective Bargaining Agreement by
transferring Plaintiff. Yet, despite all of this, UFT indicated an unwillingness to file a grievance.

Given the circumstances, the union’s decision was so far outside a wide range of reasonableness
that it was irrational.

15, Plaintiff was summoned to a meeting to take place on or about November 16,
2011 with UFT and UCP. Plaintiff's UFT Chapter Leader told her prior to the meeting that the
meeting was to confirm her schedule at the E. 51“ Street site and to give her back the hours she
had lost. When Plaintiff arrived at the meeting, she found Defendants Everett Watts and Patricia
Traynor acting on behalf of UCP, her UFT Chapter leader, and UFT employee Olivia Wint. Ms.
Wint told Plaintiff that UCP had asked her to intervene. UCP apparently wanted a union
representative present who would be more amenable to it and who would comply with its wishes
and goals and UFT granted UCP’s request by having Ms. Wint attend the meeting. UFT acted in
a way that was against Plaintiffs interests. Ms. Wint was there to take over the “representation”
of Plaintiff, although she failed to represent Plaintiff. Ms. Wint told Plaintiff that UCP wanted to
transfer her again to a different site/unit/assignment and that Plaintiff had to take one of the two
transfer options that UCP was offering or stay home without pay. Plaintiff was told that she had
to decide right there and then whether to take one of the transfer options. Defendant Patricia
Traynor made the baseless allegation that the consumers at the E. 51“ Street site did not like her.
Both transfer options would have inflicted undue hardship on Plaintiff and were adverse to
Plaintiff. One transfer option was to Staten Island, which was far away from Plaintiff's home.
The other transfer option was to another site in Brooklyn, where the schedule would inflict undue
hardship on Plaintiff who had a young baby. Ms. Wint did not even try to defend Plaintiffs
interests at the meeting or try to stop yet another transfer. Ms. Wint knew that UCP was
blatantly violating the Collective Bargaining Agreement. Ms. Wint defended UCP at the
meeting, instead of defending Plaintiff as Ms. Wint was required to do. Ms. Wint’s actions were

arbitrary, discriminatory, and in bad faith.
16. By attempting to again transfer Plaintiff, Defendant UCP breached the same
provisions of the Collective Bargaining Agreement as it had breached when it had transferred
Plaintiff from the Landings site to the E. 51° Street site.

17. After the meeting, Plaintiff repeatedly contacted UFT about what occurred at the
meeting. UFT indicated an unwillingness to grieve UCP’s efforts to again transfer Plaintiff.
UFT continued to represent to Plaintiff that her only alternative was to take one of the two
transfer options, both of which would have inflicted undue hardship on her and been adverse to
her. UFT was aware that UCP was violating the Collective Bargaining Agreement and that UCP
had a motive to retaliate against Plaintiff. UFT capriciously sided with UCP and failed to
represent Plaintiff. UFT acted arbitrarily, discriminatorily, and in bad faith, and actually
participated in and facilitated UCP’s retaliation toward Plaintiff for her protected activity.

18. Plaintiff was called for a Step One meeting in early April 2012 on a grievance
purportedly filed by UFT in the middle of December 2011. However, upon information and
belief, UFT failed to make reasonable efforts to expeditiously schedule a Step One meeting on
the grievance under the circumstances and failed to effectively and fairly prosecute the
grievance. UFT did not schedule a Step One meeting until early April 2012, which was almost
four months after the grievance was purportedly filed. Furthermore, by time of the Step One
meeting, Plaintiff had already been home without pay for almost five months. A space of almost
four months between the purported submission of a grievance in the middie of December 2011
and a Step One meeting in the beginning of April 2012 was a grossly unreasonable delay.
Furthermore, under the Collective Bargaining Agreement, the union was to file the grievance
within ten days after the facts giving rise to the grievance were known or reasonably known to

Plaintiff. Even if the union filed the grievance in December 2011, that was more than a month
after Plaintiff contacted the union about filing a grievance and the facts giving rise to the
grievance were known to Plaintiff,

19, Even if the union filed a grievance regarding Plaintiff, the manner in which it has
prosecuted the grievance has shown that the union does not intend to effectively and fairly
represent Plaintiff on the grievance. Its behavior has been arbitrary, discriminatory, and in bad
faith. In addition to the foregoing, the following has occurred. At the Step One meeting which
Olivia Wint again attended with Plaintiff's UFT Chapter Leader, the substance of the purported
grievance and the ways in which UCP violated the Collective Bargaining Agreement were not
even discussed. Plaintiff was offered a few options for placement, all for fewer hours than she
had worked at the Landings. In an effort to mitigate her damages, Plaintiff tried to accept one of
the placements, UFT presented her with an agreement among Plaintiff, the union, and UCP that
among other things, contained statements aimed at protecting the union from any liability. The
union represented that if Plaintiff wanted the placement, she had to sign the agreement. The
union made sure that self-serving statements were in a contract with the employer, in which the
union was supposed to be serving Plaintiff's interests.

20, In addition, Plaintiff discovered on May 30, 2012 during a deposition of Alan
Seiler, the former Director of Human Resources at UCP, that the union did not require or
mandate that Mr. Seiler, who was UCP’s designee at Step Two of the grievance procedure to put
his reasons for denying a grievance in writing to the union. Mr. Seiler testified that he only
orally gave his reasons for denying a grievance at the Step Two hearing, that he did not put his
reasons in writing, and that the union did not complain to him about his failure to put the reasons
in writing, even though Section C(1) of Article 29 (Grievance and Arbitration Procedure) states

with regard to Step Two: “The answer of the Executive Director or designee shall be given in
writing to the Union within ten days after the meeting and shall set forth the reason if the
grievance is denied.” Mr. Seiler had denied grievances filed by the union on behalf of Plaintiff,
The union’s failure to mandate that Mr. Seiler put his reasons in writing and to thereby enforce
the Collective Bargaining Agreement would have negatively affected Plaintiff because it would
have prevented the union from being able to properly evaluate whether to take Plaintiff's
grievances to arbitration, and the union has in fact refused to take grievances concerning Plaintiff
to arbitration after negative decisions by Mr. Seiler at Step Two that he did not explain in
writing. The union’s failure to mandate that Mr. Seiler put his reasons in writing also allowed
Mr. Seiler and UCP in general to act with little accountability and prejudiced Plaintiff in the
grievance procedure.

AS FOR A FIRST CAUSE OF ACTION

21. Plaintiff repeats and realleges paragraphs 1 through 20 as if each paragraph is
repeated verbatim herein.

22. In violation of the National Labor Relations Act and the Labor Management
Relations Act, Defendants United Federation of Teachers has breached its duty to Plaintiff of fair
representation by acting in a manner toward Plaintiff that has been arbitrary, discriminatory, and
in bad faith.

AND AS FOR A SECOND CAUSE OF ACTION

23. Plaintiff repeats and realleges paragraphs 1 through 22 as if each paragraph is
repeated verbatim herein.

24. In violation of Section 301 of the Labor Management Relations Act, Defendants
United Cerebral Palsy and Everett Watts breached Section A(1) of Article 25 (Hours of Work) of

the Collective Bargaining Agreement between UFT and UCP by reducing Plaintiffs hours from
the number of hours she worked at the Landings even though there has not been a lack of work
and even though less senior employees’ hours have not been reduced.
AND AS FOR A THIRD CAUSE OF ACTION

25, Plaintiff repeats and realleges paragraphs 1 through 24 as if each paragraph is
repeated verbatim herein.

26. In violation of Section 301 of the Labor Management Relations Act, Defendants
United Cerebral Palsy and Everett Watts breached Section D of Article 27 (Vacancies, Transfers,
Promotions, Layoffs, and Recalls) of the Collective Bargaining Agreement between UFT and
UCP by: (a) arbitrarily and capriciously transferring Plaintiff from the Landings site to the E.
51" Street site; (b) without any basis for disciplining Plaintiff, transferring her from the Landings
site to the E. 51" Street site, against her will, without her consent, and ahead of less senior
employees; and (c) not informing Plaintiff of the reason for the transfer from the Landings site to
the E. 51° Street site.

AND AS FOR A FOURTH CAUSE OF ACTION

27. Plaintiff repeats and realleges paragraphs 1 through 26 as if each paragraph is
repeated verbatim herein.

28. In violation of Section 301 of the Labor Management Relations Act, Defendants
United Cerebral Palsy, Everett Watts, and Patricia Traynor breached Section D of Article 27
(Vacancies, Transfers, Promotions, Layoffs, and Recalls) of the Collective Bargaining
Agreement between UFT and UCP by: (a) arbitrarily and capriciously trying to transfer Plaintiff
from the E, 51° Street site to yet another site; and (b) without any basis for disciplining Plaintiff,
trying to transfer her from the E. 51" Street site to yet another site, against her will, without her

consent, and ahead of less senior employees.
AND AS FOR A FIFTH CAUSE OF ACTION
29. Plaintiff repeats and realleges paragraphs | through 28 as if each paragraph is
repeated verbatim herein.
30. In violation of Section 301 of the Labor Management Relations Act, Defendants
United Cerebral Palsy and Everett Watts breached Section B of Article 28 (Due Process) of the
Collective Bargaining Agreement between UFT and UCP by taking the following adverse
actions against Plaintiff without just cause: transferring her from the Landings site to the E. 51°
Street site against her will and without her consent; and reducing her hours from the number of
hours she was working at the Landings site.
AND AS FOR A SIXTH CAUSE OF ACTION
31. Plaintiff repeats and realleges paragraphs | through 30 as if each paragraph is
repeated verbatim herein.
32. In violation of Section 301 of the Labor Management Relations Act, Defendants
United Cerebral Palsy, Everett Watts, and Patricia Traynor breached Section B of Article 28
(Due Process) of the Collective Bargaining Agreement between UFT and UCP by after Plaintiff
was at the E. 51" Street site for a short time, mandating that she stay home without pay or take
one of two other assignments, both of which would cause undue hardship to her and be adverse
to her.
AND AS FOR A SEVENTH CAUSE OF ACTION
33, Plaintiff repeats and realleges paragraphs 1 through 32 as if each paragraph is
repeated verbatim herein.
34, In violation of New York State Executive Law, Section 296 (New York State

Human Rights Law), Defendant UFT retaliated against Plaintiff for her complaints against UCP
of retaliation and sex discrimination.
AND AS FOR AN EIGHTH CAUSE OF ACTION
35. Plaintiff repeats and realleges paragraphs | through 34 as if each paragraph is
repeated verbatim herein.
36, In violation of New York City Administrative Code, Section 8, et seq., (New
York City Human Rights Law), Defendant UFT retaliated against Plaintiff for her complaints

against UCP of retaliation and sex discrimination.

WHEREFORE, Plaintiff prays the court for judgment as follows:

Under the Labor Management Relations Act against Defendant United Federation of
Teachers for the First Cause of Action:

1. awarding Plaintiff back pay, front pay, and lost benefits (including retirement
benefits) in an amount to be proven at trial and in accordance with proof;

il, awarding Plaintiff compensatory damages for emotional distress, pain and
suffering, humiliation, loss of dignity and livelihood in an amount to be proven at
trial and in accordance with proof;

iil. awarding Plaintiff punitive damages in an amount to be proven at trial and in
accordance with proof;

iv. awarding Plaintiff reasonable attorney’s fees, reasonable expert fees, and the costs
and disbursements of this action; and

V. awarding such further relief that Plaintiff may be shown entitled to and in
accordance with proof.

Under the National Labor Relations Act and the Labor Management Relations Act against
Defendants United Cerebral Palsy of New York City, Inc. and Everett Watts, jointly and

severally for each of the Second, Third, and Fifth Causes of Action:

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reinstating Plaintiff to her work at United Cerebral Palsy;

awarding Plaintiff back pay, front pay, and lost benefits (including retirement
benefits) in an amount to be proven at trial and in accordance with proof;
awarding Plaintiff compensatory damages for emotional distress, pain and
suffering, humiliation, loss of dignity and livelihood in an amount to be proven at
trial and in accordance with proof;

awarding Plaintiff punitive damages in an amount to be proven at trial and in
accordance with proof;

awarding Plaintiff reasonable attorney’s fees, reasonable expert fees, and the costs
and disbursements of this action; and

awarding such further relief that Plaintiff may be shown entitled to and in

accordance with proof.

Under the National Labor Relations Act and the Labor Management Relations Act against

Defendants United Cerebral Palsy of New York City, Inc., Everett Watts, and Patricia

Traynor, jointly and severally, for each of the Fourth and Sixth Causes of Action:

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reinstating Plaintiff to her work at United Cerebral Palsy;

awarding Plaintiff back pay, front pay, and lost benefits (including retirement
benefits) in an amount to be proven at trial and in accordance with proof;
awarding Plaintiff compensatory damages for emotional distress, pain and
suffering, humiliation, loss of dignity and livelihood in an amount to be proven at

trial and in accordance with proof;
iv.

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awarding Plaintiff punitive damages in an amount to be proven at trial and in
accordance with proof;

awarding Plaintiff reasonable attorney’s fees, reasonable expert fees, and the costs
and disbursements of this action; and

awarding such further relief that Plaintiff may be shown entitled to and in

accordance with proof.

Under the New York State Executive Law, Sections 290-297 (New York State Human

Rights Law) against Defendant United Federation of Teachers for the Seventh Cause of

Action:

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awarding Plaintiff back pay, front pay, and lost benefits (including retirement
benefits) in an amount to be proven at trial and in accordance with proof;
awarding Plaintiff compensatory damages for emotional distress, pain and
suffering, humiliation, loss of dignity and livelihood in an amount to be proven at
trial and in accordance with proof;

awarding Plaintiff punitive damages in an amount to be proven at trial and in
accordance with proof;

awarding Plaintiff reasonable expert fees and the costs and disbursements of this
action; and

awarding such further relief that Plaintiff may be show entitled to and in

accordance with proof.

Under the New York City Administrative Code, Section 8, et seq. (New York City Human

Rights Law) against Defendant United Federation of Teachers for the Eighth Cause of

Action:
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awarding Plaintiff back pay, front pay, and lost benefits (including retirement
benefits) in an amount to be proven at trial and in accordance with proof;
awarding Plaintiff compensatory damages for emotional distress, pain and
suffering, humiliation, loss of dignity, and livelihood in an amount to be proven at
trial and in accordance with proof; |
awarding Plaintiff punitive damages in an amount to be proven at trial and in
accordance with proof;

awarding Plaintiff reasonable attorney’s fees, reasonable expert fees, and the costs
and disbursements of this action; and

awarding such further relief that Plaintiff may be shown entitled to and in

accordance with proof,

Dated: Brooklyn, New York

July 27, 2012

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Fait (ls,
Precious C. Aneji, Esq.
767 Franklin Avenue

Brooklyn, NY 11238
Tel. No.: 917-376-3018

By:

 

Kathy A. Polias
Attorney-at-Law

155 Water Street
Brooklyn, NY 11201
Tel. No.: 718-514-2062
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UCP-UFT Collective Bargaining Agreement-- Residences

Agreement made and entered into the 26th day of May 2010 by and between United
Cerebral Palsy of New York City (herein “Employer”) and United Federation of
Teachers, NYSUT, AFT, AFL-CIO (herein “Union”) acting on behalf of certain
Employees of the Employer as hereinafter defined.

Article I
Recognition

The Employer recognizes the Union as the exclusive collective bargaining representative
of Employees certified in the following appropriate unit:

All full-time and regular part-time Senior Residential Program Specialists, Residential
Program Specialists, Residence Program Specialists Il, Cooks, Licensed Practical Nurses,
Administrative Assistants, Physical Therapist Assistants, excluding al! other employees
including Managerial Employees, Confidential Employees, Supervisors and Guards, as

defined in the Act.

Whenever the word “Employee” is used in this Agreement, it shail be deemed to mean
the employees in the unit covered by this Agreement.

Article 2
No Discrimimation

Neither the Union nor the Employer will discriminate against any Employee because of
race, religion, sex, age, marital status, national origin, sexual orientation, color,
citizenship status, union activity or non-activity, or disability unrelated to job

performance,

Article 3
¥ffective Date and Duration

This Agreement will be effective fom December 3¥, 2UU9 and will remain effective
through June 29, 2012.

Article 4
Probationary Period

i. Duration. Except as sat forth in section 2, anew Employee, whether or not
formerly en Employee of the Employer, or en employee transferred into the
bargaining unit from a different job title, or a bargaining unit Employee
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voluntarily transferred to a different job title, will be on probation until the
Employee has actually worked for six months in the new position or a pro-rata,
i.e. extended equivalent for other than regular full-time Employees, excluding
time for ilIness or any other non-work time.

Exceptions,

(a) An AMAP certified on call Employee who has worked for more than two
years and transfers into a salaried position shail serve a three (3) month
probationary period upon transfer, On-call Employees who are not AMAP
certified at the time of transfer into a salaried position shall serve a probationary
period of six months.

(b) Salaried Residential Employees who have completed a six (6) month
probationary period prior to voluntarily retuming to on-call status shall not
serve anew probationary period.

(c) Salaried Residential Employees who have completed a six (6) month
probationary period prior to being returned to on-call status as a result of not
attaining a driver’s license or AMAP certification shail serve a three (3) month
probationary period.

(d) Residence Program Specialists I] who have completed a six (6) month
probationary pertod and are promoted into the Residential Program

Specialist utle shall serve a three (3) month probationary period.

Extension. By written agreement between the Union and the Employer, the
applicable probationary period may be extended, Failure to extend the
probationary period or to terminate the Employee during or at the end of such
period means the Employee has successfully completed that period.

Rights. During or at the end of the probationary period the Employer may
discharge or discipline a probationary Employee and such discharge or discipline
shall not be subject to grievance or arbitration, but the Employee is otherwise
covered by the provisions of the Agreement.

Article §
Seniority

Seniority is defined as the length of time an Employee has been continuously
employed on a full time basis by the Employer including all positions outside of
the bargaining unit. Part time Employees accrue pro-rata seniority. On-call
Employees do not accrue seniority,

An Employee’s seniority shall commence on the date of his/her last hire, and shail
accrue during his/her continuous employment with the Employer.

An Employee shal! neither acerue nor lose seniority while he/she is on layotf or
an unpaid leave of absence or any absences while he/she is not being paid by the
Employer.

An Employee shall lose seniority, and seniority shall be broken if the Employee
a. Voluntarily resigns; or

b. is discharged: or
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c. fails to report to work after a layoff within fourteen (14) calendar days after
recall sent certified mail by the Employer to the Employee at his/her address
of record on file with the Employer, except where verifiable serious illness or
other, provable reason acceptable to the Employer makes it impossible for the
Employee to return on time and provided the Employee notified the Employer
of the reason within three (3) days after recall; or

d, fails to report to work at the expiration of a leave of absence pursuant to this
Agreement, except where verifiable serious illness or other provable reason
acceptable to the Employer makes it impossible for the Employee to return on
time and provided the Employee notifies the Employer of the reason within
three (3) days prior to expiration of the leave of absence; or

e, fails to apply for re-employment within the statutory period after separation
from military service; or

f. is laid off for twelve (12) months.

5. An Employee whose seniority is lost for any of the reasons outlined in Paragraph

A. Union Shop
1.

4 above shal! be considered as a new Employee if he/she is again employed by the
Eraployer, The failure of the Employer to re-hire said Employee after the loss of
seniority shall not be subject to the grievance and arbitration provisions of this
Agreement.

Upon written request by the Union, the Employer will provide an updated
seniority list to the Union every six (6) months,

Article 6
Union Security

It shall be a condition of employment that every Employee who is 4 member of
the Union in good standing as of the date of execution of this Agreement shail
remain a member in good standing. Those Employees who are not members of the
Union on the date of execution of this Agreement shal! become and remain
members in good standing of the Union no later than thirty days following the
date of execution of this Agreement as a condition of employment.

After the date of execution of this Agreement, every newly hired Employee will
become a member of the Union within thirty days after the date of employment
and thereafter will remain a member in good standing as a condition of
employment.

Whenever the Union charges that any Employee who is required by the provisions
of this Article to become or remain e member of the Union in good standing has
failed to do so, and the Union requests the discharge of such Employee, the
Employer shall be so informed by the Union by certified or registered mail. The
Employer shall have fourteen Days following the receipt of such notice, pursuant
to the request of the Union, to discharge the Employee. If during the fourteen day
period the Employee shal! pay his or her delinquent dues, or the Union shail
withdraw its request for termination, the Employer shall not be required to
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discharge such Employee assuming the Employer has been so informed by the

Union, by certified or registered mail,
“Good Standing” for the purpose of this Agreement shall mean the payment or

tender of periodic dues, uniformly required as a condition of membership, to the
Union,

, Payroll Deduction of Union Bues

1.

An Employee who desires to become a member of the Union may execute a
written authorization in the form annexed hereto as Exhibit A. Upon receipt of
such authorization from an Employee the Employer will, pursuant to such
authorization, deduct from the wages due the Employee in each pay period the
regular dues fixed by the Union, However, the first deduction shall not be
required to be made earlier than the first pay period following completion of the
Employee’s first thirty days of employment but will include the first thirty days of
employment if authorized by the Employee.

The Employer shall be relieved from making such “check-off” deductions upon:
(a) termination of employment, (b) transfer to a title outside the bargaining units,
(c) layoff from work, (d) agreed leave of absence, or (€} revocation of the check-
off authorization in accordance with its terms or with applicable law.
Notwithstanding the foregoing, upon the retum of an Employee to work from any
of the above-mentioned absences, the Employer will immediately resume the
obligation of making such deduction, except that deduction for terminated
Employees shal! require a new dues authorization form.

By the twentieth of each month, the Employer shall remit to the Union all
deductions for dues made from the salary of Employees for the preceding month,
together with lists (transmitted electronically) of all unionized Employees and
Employees for whom dues have been deducted, including their social security
numbers and the amount of dues deducted from each Employee’s earmngs.

C. Employer Held Barmless
The Union agrees that it will hold the Employer completely free and harmiess and.

fully indemnify the Employer from any claims, actions, damages, suits or costs of any
type, attorney’s fees, or proceedings related in any way to deduction, terminations or

other actions pursuant to this Article.

D. Union Rights
L.

The Employer shall provide a bulletin board al each site where bargaining wil
members are employed for the posting of official union business and
communications, When such notices are posted, a copy shall be given to the
Employer, No posted notice shall contain criticism or be of a derogatory nature
with respect to the programs, policies, or personne! of the Employer, or be
detrimenial to the consumers. The Employer will make reasonable efforts to
locate bulletin boards in an area accessible to all Employees.

The Union may utilize the Employer’s internal mailboxes to disseminate official

Union. information and correspondence to bargaining unit Employees.
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3. The Union may request the use of available space for staff meetings on a periodic
basis. Itis understood that use of this space will not interfere with normal
program operations and will take place on the Employee’s non-work hours.
Permission to use such meeting space will not be unreasonably withheld.

4. The Employer shall permit the Chapter Leader of his/her designee to take time off
without pay to attend monthly meetings of the citywide UFT Delegate Assembly.
The Chapter Leader shall submit to the Director of the Program a copy of the
monthly dates of the citywide UFT Delegate Assembly in September. Ifa change
ocours in the meeting dates, the Chapter Leader will advise the Director as soon
as possible.

5. A Union designated committee of no more than eight (8) people shall meet with
representatives from Management three times per year to discuss matters of
mutual concern. Additional meetings may be agreed upon in writing between the
parties. The meeting shall begin at 4 pm and end by 5:30 pm. itis understood that
these meetings will not interfere with normal program operations and that
Employees will not be paid for their attendance. These meetings shall in no way
be deemed negotiating sessions and no side agreements or other modifications of
this Agreement shall result. The agenda items will be exchanged between the
Union and the Employer four (4) days in advance of the meeting date.

6, A Union Representative who is not an Employee, who wishes to visit the
workplace in the conduct of official Union business, or to attend a grievance
hearing shall make a request to the Director of the Program or the Director of
Human Resources, by stating the date and time of the visit. This request shall be
made with two (2) days? notice unless an emergency situation arises. Permission
for such visits will not be unreasonably withheld.

EE. New Unit Employee
The Employer will notify the Union in writing of each new bargaining unit Employee

within ten (10) working days after the Employee’s employment,

FP, Notification of Change of Status
The Employer will notify on a monthly basis, in writing, the Union at the end of each
month of all bargaining unit eruployees who have resigned or been terminated.

Article 7
Kates of Pay, Minimums, and Health Care Supplements

A. Rates of Pay

i. During the term of this Agreement each Employee (incinding Employees on
jeave who return to work at or before expiration of leave) shall receive the
salary increases corresponding to his or her job title category (a) or (e) below.

2. The minimurn job rates of each bargaining unit title are increased in the same
manner and set forth in Appendix A.
6 UCP00G169

3. Employees entitled to retroactive money shall receive payment in one separate

check on Sune 4, 2010.
4, ‘The minimum job rates and salary increases in effect for bargaining unit

merabers shall not be less than those in effect for non-bargaining unit
members in the same or comparable job tities.

Category (a}

Residential Program Specialists, Senior Residential Program Specialists,
Residence Program Specialists li, Cooks, and the following Employees funded
through OMRDD scurces-- Administrative Assistants, Licensed Practical Nurses,

Physical Therapy Assistants.

Incumbent

Salary Increase Payment Salary
Effective Date Date Increase
11/30/09 6/4/10 3%

The above-mentioned salary increase shall be applied to all regular, additional,
holiday, and overtime hours worked by category (a) employees retroactive to
11/30/09.

Category (e)
Residential Program Specialist On-Calis

 

Incumbent

Salary Increase Payment Salary
Effective Date Date Increase
5/10/16 6/4/10 3%

B, Health Care Supplements

lL,

In addition to the salary increases provided in Section A above, full time ana part
time category (a) Employees hired prior to 4/1/10 Gncluding Employees on leave
who return to work) shall receive the applicable health care supplements specified

below.
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Category (a) Employees

Payment Date Payment Amount Payment Type
4/1/10 $1,006 health reimbursement
account

2, The health care supplements for bargaining unit Employees shall not be less than
the health care supplements for non-bargaining unit Employees in the same or

comparable job titles.
3, The Employer shall apply for the OMRDD Heal

which it is available.

th Care Initiative in each year In

C. Re-Opener «

On or before April 1, 2011 either party may give written notice of its intent to re-
open Article 7 (Wages, Minimums, and Health Supplements). If such notice is
timely given, the parties shall meet to negotiate in good faith the terms of Article
7, including but not limited to the use of unexpended funds that may exist as of
June 30, 2011 and anticipated revenues and expenditures for the fiscal year
commencing July 1, 2011. The parties agree that the resulting wages, minimums,
and health supplements for bargaining unit members shall not be less than those
in effect for non-bargaining unit members in the same or comparable job titles.

Article 8
Pension Plan

1, The Employer shall continue to provide pension benefits to Employees covered
by this Agreement.

2, The pension benefits for bargaining unit Employees shall not be less than those in
effect for non-bargaining unit Employees in the same or comparable job titles.

3, The Employer shall notify the Union no later than three months prior to any
possible change in pension benefits for bargaining unit members.

4. A joint UCP/UFT committee will begin meeting no later than three months prior
to any possible change in pension benefits for the purpose of exploring and
identifying future options regarding such benefits for bargaining unit Employees.

5. The Employer, the Union, and the Employees shall comply with the Employee
Retirement Income Security Act (ERISA) and other laws as applicable.
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Article 9
Health and Dental Benefits

The Employer shall continue to provide health and dental benefits to the
Employees covered by this Agreement. The health benefits for bargaining unit
mernbers during the plan year May 1, 2010 through April 30, 2013 are set forth in
the Stipulation of Agreement between the parties dated April 13, 2010 and shall
be incorporated into the collective bargaining agreement.

. ‘The health and dental benefits in effect for bargaining unit members shall not be
less than those in effect for non-bargaining unit Employees in the same or

comparable job titles.

. The Employer shall notify the Union no later than two months prior to any
possible change in health or dental benefits for bargaining untt members.

A joint UCP/UFT committee will begin meeting no later than two months prior to
any possible change in health or dental benetfits for the purpose of exploring and
identifying future options regarding such benefits for bargaining unit members. A
ininimum of two alternative options will be explored.

The paxties will negotiate in good faith in an effort to reach agreement no later
than Apri! 15" during the term of the collective bargaining agreements regarding
any changes to existing health or dental benefits for bargaining unit members.

_ In the event that the premium of any existing or new health insurance plan
increases effective April 1, 2010, the Employer will absorb a premium increase of

up to 3%.

. The Union shall be offered the option of (a} renewing the plan, if available, no
later than April 15" of each contract year; or (b) choosing one of the alternative
plans presented, with Employees paying the premium increase above 3% in either

(a) or (b),

_ The steps outlined in this section shall apply each year during the term of the
collective bargaining agreements.

Artiele 10
Vacations

Full-time Employees shal! accrue vacation days based upon job title. Information
regarding vacation entitlement shal! be made available to each Employee at
his/her time of hire. Employees who have completed twenty-six (26) weeks of
emnployment shall accrue one-half year’s worth of vacation time. Following the
gb CPO00i72

initial twenty-six (26) week credit, Employees shall accrue vacation time per four
(4) week cycle in accordance with UCP existing policy. Full4ime Employees,
other than those listed below, have the following annual vacation entitlement:

Annual Vacation Entitlement

 

Years of Service at UCP

1-3 10 days
3-5 15 days
over 5 20 days

Employees in job titles whose annual vacation entitlement is twenty (20) days
upon completion of one (1) year of UCP service on the date of ratification of this
Agreement shall continue to be so entitled,
2. Part-time Employees shall earn vacation days on a pro-rated basis.
Hourly Emptoyees do not accrue vacation time.
4, Employees may carry over unused vacation time into the next fiscal year
(commencing July 1°.
a. The amount of vacation time that may be carried over is limited to one and
one-half (1 4% ) times the annual accruals for full-time Employees
b, The amount of vacation time that part-time Employees may Carry Over is pro-
rated based on their part-time schedule and the prorated equivalent of the
vacation limits for full-time Employees,
¢. Exceptions to the 4a limits may be granted in writing by the Executive
Director or his/her designee only if the Employee makes a written request for
vacation utilization by March 30" which has been denied. Denials of
exceptions shall be neither arbitrary nor capricious.
5, Upon separation from employment, the Employer shall pay accrued but unused
vacation leave up to the limits indicated above to Employees who provide the
tequired notice or acceptable reason of hardship and according to applicable law.

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Article 14
Holiday Leave
1. Full-time Employees are eligible to take off or accrue leave for the following paid
Agency holidays:
New Year’s Day Labor Day
Martin Luther King Day Yom Kippur (weekday only)

President’s Day Presidential Election Day
Good Friday Thanksgiving Day
Memorial Day Friday after Thanksgiving
Independence Day Christmas Day

Agency holidays that fall on a Saturday will be observed on the Friday before.
Agency holidays that fall on a Sunday will be observed on the following Monday.

2. Presidential Election Day, Good Friday and Yom Kippur are floating holidays.
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An anmaal holiday schedule will be made available to all Employees at the

beginning of each calendar year.

. An Employee must be either at work or on paid leave on the workdays before and
after a holiday to be paid for that holiday. An Employee who calls in. sick before

or immediately following an Agency observed holiday on which the Employee 1s

scheduled to be off may be required to submit a doctor’s note in order to receive

holiday pay.

. Full-time Employees will accrue one (1) day of holiday leave for an Agency

observed holiday that falls on a regularly scheduled day off. Full-time Employees

required to work on a holiday will be paid for the day worked and accrue one (1)

day of holiday leave.

. Part-time Employees may use or accrue holiday leave only for those Agency
observed holidays that fal] on a day on which they are regularly scheduled to

work. Part-time Employees who work on a holiday earn holiday leave equivalent

to the amount of time they work on the holiday to a maximum of eight (8) hours

at the work site.

Residential Employees, including those who work on-call, shall be compensated

at a rate equal to time and oné half of their regular rate of pay for work performed

on the following holidays:

New Year’s Day (6 PM New Year’s Eve - 6 PM New Year’s Day)

Independence Day (July 4")

Thanksgiving Day

Christmas Day (December 25"

The Employer shall continue its policy of offering Employees the option to cash
in holiday time accrued on these holidays.

. Accrued holiday leave mnist be used by the end of the payroll period ending
inmediately before June 30" in the year in which it was earned, except as agreed
to in writing by the Executive Director or designee upon written request from the
Employee, Such requests from Employees who, prior to March 30", have
submitted and been denied a request to use holiday leave shall not be arbitrarily or

capriciously denied, ;
. Accrued but unused holiday leave may not be converted to pay upon separation

frorn the Employer.

Artiche 12
Request to Use Acerued Holiday Leave or Vacation

. Employees wishing to use accrued holiday or vacation time will submit a written
leave request that includes the date of submission to their supervisor sufficiently
ahead of time to plan for adequate staffing and program coverage. This form shall
be approved or denied by the Employer and returned to the Employee within two

(2) weeks of submission,
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4.

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When scheduling holiday or vacation time, the supervisor will consider Employee
preferences and agency needs, If the Employer is unable to accommodate the
preferred vacation requests of all applicants, seniority shall govern among those
applicants in the same job title applying simultaneously for the same dates.
However if the senior applicant in the job title previously received his/her choice
and other eligible applicants did not, the request of the senior eligible applicant in
that job title who did not previously receive his/her choice shall have first

preference for approval.

Article 13
Personal Days

Full-time Employees who have completed fifty-two weeks of continuous full-time
employment shall accrue two (2) personal days per year on their anniversary date
of hire.

Personal days must be used by full-time Employees prior to their anniversary
date. They may not be carried into the next year or converted to pay upon
separation from the Employer.

Hourly and part-time Employees do not accrue personal leave.

Employees shall request personal days of the Employer with as much advance
notice as possible, but not more than three (3) months in advance, by completing
an accrued leave request form that includes the date the request is submitted, The
Employer shall respond in writing within two weeks of the date of the request.

In the event that two or more Employees request the same personal day(s),
approval shall be granted in order of the date the requests are submitted, or by
seniority in the event that requests are submitted on the same date.

All Employer approvals or denials shall be based upon consumer and operational
needs and be at the sole discretion of the Employer.

Articie 14
Sick eave

Full-time Employees shall earn ten (10) paid sick days per year.
Part-time Employees shail earn paid sick days on a pro-rated basis.

Employees accrue paid sick leave from the beginning of their ernployment and
become eligible to use such leave following thirteen (13) weeks of continuous

employment.

Employees may carry over acerued sick leave into the next fiscal year
(commencing July 1°). There is no limit on the amount of paid sick leave an

Employee may accrue,

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An Employee who is unable to report to work due to their own illness oF illness of
a child and who requests to use paid sick leave will contact his/her supervisor or
their designee. Notification must be made one (1) hour in advance of the work
day for Day Program Employees and two (2) hours in advance of the work day
for evening, night, and weekend Employees, except in cases of proven inability to
furnish such notice, and Employees shal! continue to give such notification on a
daily basis unless another arrangement has been made.

An Employee with no documented record of excessive sick time usage will not
routinely be required te provide a doctor’s note following less than three
consecutive days of absence.

The value of accrued sick leave is not payable to an Employee upon separation
from employment.

Article 15
Leaves of Absence

Bereavement Leave

An Employee who completes twenty-six (26) weeks of continuous full-time
employment is entitled to pald leave in the event of the death of a member of the
Employee’s family, as follows:

a. amaximum of three (3) work days for the death of an immediate
family member, defined as a parent, grandparent, spouse, sibling, or
child.

b. one (1) work day for the death of an aunt, uncle, parent-in-law,
daughter-in-law, son-in-law.

Bereavement leave will be taken as close as possible to the time of death of the
Employee’s family member, however in no event more than one (1) month from
the date of death.

An Employee who requires additional time-off for a death in the Employee’s
farnily may request to use accrued vacation, holiday, or leave without pay days,
subject to written approval from the Employer. Such requests shall not be
unreasonably denied,

The Employer may request that the Employee provide documentation

to verify the appropriate use of bereavement leave.

Part-time Employees are entitled to bereavement leave on a prorated basis.
Hourly Employees are not entitled to bereavement leave,

. Jury Duty

An Employee summoned for jury duty is expected to present a copy of the jury
duty notice promptly to the Employer and to return to work whenever excused
from jury duty and when it is concluded.

Full-time and part-time Exnployees will be paid by the Employer at their regular
rate of pay for the duration of their jury service. Hourly or per diem Employees
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who work regular shifts will be paid by the Employer for the first three (3) days
of jury service, provided these are regularly scheduled work days for the

Employee.
The Employer reserves the right to request that an Employee be excused from

jury duty based upon agency needs.
The Employer may request and the Eraployee must submit documentation

substantiating jury duty attendance.

Military Leave
Leaves of absence for performance of duty with the US Armed Forces, with a

reserve component of the National Guard thereof shall be granted in accordance

with applicable law,
Employees who are eligible for vacation, personal, or holiday leave may use such

leave while on military leave, Exhaustion of all leave credits is not required for
military leave,

Short-Term Disability Leave
The Employer and Employee will comply with the provisions of the NY State

THsability Benefits Law.
Employees who have accrued leave may use available accrued leave during 4

period of short-term disability, .
Employees receiving short-term disability benefits are also considered on FMLA
leave simultaneously up to the first twelve (12) weeks of the FMLA year they are

absent due to disability.

Family and Medical Leave Act (FMLA)
¢ Employer and Employee will comply with the provisions of the Family and

Medical Leave Act, as amended.

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Workers Compensation

The Employer and Employee will comply with the provisions of the New York State

Workers’ Compensation Law,

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Leave Without Pay
An Employee who completes fifty-two ($2) weeks of continuous employment and

has exhausted all paid leave may request a Leave Without Pay to a maximum of
twenty-six (26) weeks for sickness or disability. The Employee will request such
leave with as much advance notice as possible, The Employer shall respond in
writing to the Employee, or verbally if there is not sufficient time from the date of
the request, prior to the requested start date of the leave,

a, In order to be eligible for such leave, the Employee will present medical
verification that he/she is unable to work.

b. AnEmployee who is on Leave Without Pay shall not receive
compensation from the Employer, but may receive short-term disability or
workers’ compensation nayments, where applicable, if such payments
have not been exhausted during the Employee’s paid leave.
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c. During an approved Leave Without Pay, the Employer shall maintain an ~
Kimployee’s existing benefits, including life, health, and disability
coverage for a maximum of twelve (12) weeks. Employees who are unable
to return to work after twelve (12) weeks will be notified in writing of the
options and costs of continuing their existing benefits under COBRA.

d. The Employer reserves the right to request periodic medical verification of
an Empiloyee’s disability.

2. An Employee on FMLA leave for reasons other than his/her own disability may
aiso be granted Leave Without Pay for the remaining fourteen (14) of the twenty-
six (26) weeks if his/her need for such leave is substantiated by credible

documentation,
3. An Employee does not accrue vacation, personal, holiday or sick days while on

Leave Without Pay,

4, An Employee may request Leave Without Pay for compelling reasons other than
his/her own disability or the disability ofa family member. The Employee will
request such leave with as much advance notice as possible.

a. The Employer shail respond in writing to the Employee, or verbally if
there is not sufficient time from the date of the request, prior to the
requested start date ofthe leave. In evaluating whether to grant such a
request, the Employer will consider the compelling nature of the request
and agency needs, Such requests shall not be unreasonably denied,

b, If Leave Without Pay is granted for reason other than disability, it is
understood that the same policies apply regarding the duration of the
leave, documentation related to the reason for the leave, and Employee
rights upon return from the leave.

». Employees who are unable to work and denied leave without pay will be
informed in writing by the Employer of their placement on non-active status for a
period of ninety (90) days. Non-active Employees shall be entitled to continue
medica! coverage as allowed by COBRA, as well as Worker’s Compensation and
disability benefits in accordance with the determination of the carrier and the law.
Employees who notify the Employer during this ninety (90) day period of their
ability to return to work and perform the full duties of the job will be given
reasonable consideration for reinstatement to their position (if still available) or to
another position within the agency. Employees who do not contact the Employer
within ninety (90) days of being placed on non-active status or are unable to
return to full duties will be terminated.

6. An Employee planning to return from Leave Without Pay shall notify his/her
supervisor at least two weeks before the scheduled date of return and submit
medical clearance stating that he/she can return to work and perform the full,
essential duties of his/her job. The Employer will make reasonable efforts to
reinstate an Employee who returns from Leave Without Pay to a similar position

within the Agency.
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Article 16
Voluntary Benefits

The Employer will continue its current policy on the following voluntary benefit
programs~—-Transitcheck, 403(b}, Life Insurance (term or universal), Flexible
Spending accounts, Municipal Credit Union, and Short term Disability.

Article 17
Fuition Assistance

UCP will continue its policy of tuition assistance to bargaining unit Employees on
the same terms as other UCP employees.

Copies of the Employer’s policy regarding participation in this program shall be
provided to Employees upon request,

Article 18
¥mployee Referral Program

Employees shall be eligible to participate in UCP’s Employee Referral Program
to the same extent as non-bargaining unit ernployees.

Copies of the Employer's policy regarding participation in this program shall be
provided to Employees upon request.

Article 19
Administration of Medication

UCP and the Employees shall comply with all applicable laws and regulations
regarding the administration of medication by Employees to consumers.

The Employer will make reasonable efforts to provide Employees with the
opportunity to take and complete AMAP training prior to the end of the

Employee’s probationary period,

The grandparenting policy with regard to current Employees not required to
administer medication to consumers will remain in effect.
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Article 26
Driving of Agency Vans

1. UCP and the Employees shall comply with all applicable Jaws and regulations
regarding the driving of agency vans,

2. Employees will not be required to drive an agency van until they have held a valid
driver’s license for six montus and have completed the agency’s training program.

3. Direct care staff required to drive agency vans will! be given priority to take the
agency’s defensive driving course,

4. The following Employees shall continue to be grandfathered from driving:
e Ernployees hired before June 18, 2003 who have not driven an agency van

while employed at the agency.

5, Upon request to the Employer, Employees issued a summons for moving or non-
moving violations while using an agency vehicle will be provided with the
opportunity and documentation to dispute the summons at the Traffic or Parking

Violations Bureau,
Article 24
Fingerprinting and Employee ID Cards
Management will continue its policy of covering the costs of fingerprinting and the
initially issued UCP employee identification card.
Article 22
Employee Expenses and Reimbursement
Employees will be reimbursed within a reasonable time period following submission of
receipts or other acceptable documentation for reimbursable expenses.
Article 23

Training of Employees

The Employer shall comply with OMRDD policies and regulations regarding training of
employees.
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Articie 24
Past Practices

‘The Employer, in compliance with the law, will subject to negotiations, continue all past
practices involving wages, hours and terms and conditions of employment.

Article 25
Hours of Work

A. Regular Work Day and Work Week

1. The hours per week regularly worked by a full time or part-time Employee
shall not be reduced during the term of the Agreement, except for lack of
work. If the hours of Employees in a particular title must be reduced because
of lack of work, the least senior Employees in the title at the bargaining unit
site shall have their hours reduced or eliminated before more senior
Employees, provided the remaining Employees are qualified to do the work
required,

2. Employees who regularly work at least four (4) hours a day shail have a meal
period of not less than thirty minutes per day.

3. For all Employees entitled to a meal period longer than thirty (30} minutes on
the date of ratification of this Agreement, the Employer shall continue its
current policy regarding meal period entitlements.

The Employer shall inform Employees in writing at the time they are hired of:
a, the daily starting and ending time of their shift
b. the length of their meal period

4, If itbecomes necessary to change an Employee’s work schedule/shift at any
site, the Employer shall seek qualified volunteer(s) in the affected title at that
site, If there are no, or an insufficient number of qualified volunteer(s), the
Employer shall change the work schedule/shift of the least senior qualified
Employee(s) in the affected title at that site, An Employee whose
schedule/shift is involuntarily changed shall be informed of the reason for the
change, provided advance notice before implementation and preference to
revert to his/her previous work schedule/shift if an opportunity becomes
available to do so within one year of the involuntary change of schedule.

B, Timekeeping

1. The Employer will continue its current policy regarding procedures for
completion and review of time and attendance sheets.

2. Effective no later than August 29, 2006, the Employer will, after an
Employee’s completion and submission of time and attendance sheets, begin
providing On-call Employees with a record of their days and hours worked
during each pay period.

3. Salaried staff who move to on-call status shall be paid for their existing
balance of accrued vacation time, to a maximum of one and one half (1 4)

times their annual vacation accruals,
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C, Overtime .
1, Employees shall be paid at their reguiar hourly pay rate for authorized ume

worked In excess of their regularly assigned hours of work, up to forty (40)
hours per week.

2. Employees shall be paid additionally at one and one-half (| 4) times the
Employee’ s regular hourly pay rate for authorized time worked in excess of
forty (40) hours in a work week.

3. If overtime is necessary, the Employer shall first seek qualified volunteers in
the job title(s) at the bargaining unit work site where the need arises. If an
insufficient number of qualified Employees volunteer, overtime shall be
assigned to qualified, on-duty Employees in the job title(s) at the bargaining
unit work site where the need arises, in reverse order of seniority.

4, Notice of overtime shall be given to Employees as soon as is reasonable for
the need to have become known to the Employer.

D. Training and Staff Meetings
i, Employees shal! be compensated for all time spent attending training or staff

meetings beyond their regular hours of work.

2, With the exception of AMAFP training, The Employer will offer altemative
arrangements for Employees who, due to compelling personal circumstances,
are unable to attend training or staff meetings beyond their regular hours of
work. Employees must atiend the next training session for which they are
scheduled.

3. Employees who complete OMRDD required training for which
certification is issued shall receive a copy of their certification upon

request,

Article 26
Overnight Trips

Upon being asked to accompany consumers on overnight trips, the Employer shali
provide Employees with a fact sheet on such trips as egreed between the parties.

Article 27
Vacancies, Transfers, Promotions, Layoffs and Recalls

A. Posting Vacancies
The Employer shall post vacancies showing the work hours and locations of

bargaining unit positions for at least five days. The posting shail be dated. Applicants
shall be transferred or promoted to such bargaining unit vacancies ag set forth below.
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Voluntary Transfers and Promotions

When two or more applicants apply in writing for a lateral transfer to a bargaining
unit vacancy or promotion to a bargaining umit vacancy, an applicant shall be
selected by UCP taking competency, agency needs, consumer needs and job
performance into consideration. As used herein, a “lateral transfer” is a transfer to
a comparable position at a comparable pay level. A promotion is a transfer to a
higher paid position.

Part-time residential unit Employees shall have preference over on-call
Employees for additional hours and for full-time positions based on their
seniority, if they meet the posted qualifications. Residential Employees who work
on-call shall have preference for regular part-time or full-time residential
positions over new hires (but not over part-timers), if they meet the posted
qualifications. The Employer may, on infrequent occasions, not transfer ar
promote part-timers or on-callers due to criteria listed in B1. The Employer shall
not act arbitrarily or capriciously in this regard.

Layoffs and Recalls ;
The Employer shall notify the Union of an impending layoff of bargaining unit

members, and it shall meet promptly, if requested by the Union, to try to resolve
any issues, including possible altemnatives to layoffs, before layoffs are
implemented,

In the event of 2 reduction in force in the bargaining unit, the least senior
Employee in the relevant bargaining unit job title shall be laid off provided the
remaining Employees are qualified to do the work required. The Employer shall
give affected Employees at least thirty days’ written notice of layoff. Part-time
Employees are laid off and recalled separately from full-time Employees,

Laid off Bmployees shall be placed on a list for recall to the same or a comparable
position with the Agency when one becomes available. Probationary Employees
who have been laid off have no recall privileges,

The Employer shall offer vacant bargaining unit positions that subsequently
become available to qualified Employees on recall lists in seniority order before
posting them and filling them,

Employees recalled to work are expected to return within fourteen (14) calendar
days after recall sent certified mail by Employer to the Employee at his/her
address of record on file with the Employer except where verifiable serious illness
or other provable reason acceptable to the Employer makes it impossible for the
Employee to return on time. The Employee shall notify the Employer of his/her
acceptance or rejection of the recall and the reason for any imability to retum on
time within three (3) days after recall,

An Employee who is recalled from layoff to a non-bargaining unit position but
who requests to be retumed to the bargaining unit shall be transferred back into 4
bargaining unit vacancy in accordance with his/her seniority if an appropriate
bargaining unit vacancy occurs for which the Employee is competent and

qualified.
The recall rights of Emplovees are affective until one year following their date of

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D. Transfers Within the Unit

1. The Employer may transfer Employees from their work site to another work site
for reasons of agency or consumer needs. Said transfers shal! be neither arbitrary
ror capricious,

2, Before involuntarily transferring any Employee from their work site to another
work site, the Employer shall seek qualified volunteer(s) in the title. [f there are
no, or an insufficient number of qualified volunteer(s), the Employer shall transfer
the least senior qualified Employee(s) in the title from their work site to another.
An Employee who is to be involuntarily transferred within the unit shal! be
informed of the reason for the transfer and provided with advance notice.

3. Upon their request, Employees shall be transferred back to their work site as soon.
as practical,

4, The Employer may transfer an Employee within the Unit for disciplinary reasons,
without adhering to D2 or D3. Such transfers shall be made in consultation with

the Union.
5, The parties have agreed to this provision with the expectation that it will be used

infrequently.

KE. Vransfers Out of the Unit

1. The Employer may transfer Employees out of the bargaining unit for reasons of
agency or consumer needs, Said transfers shali be neither arbitrary nor capricious.

2. Before involuntarily transferring any Employee out of the bargaining unit, the
Employer shall seek qualified volunteer(s) in the title. [f there are no, or an
insufficient number of, qualified volunteer(s), the Employer shall transfer the least
senior qualified Employee(s) in the title. An Employee who is to be involuntarily
transferred out of the unit shall be informed of the reason for the transfer and
provided advance notice.

3, Upon their request, Employees shall be transferred back into the bargaining umt
as soon as practical. Employees transferred out of the bargaining unit shall suffer

no reduction in fringe benefits.

RF, Disputes
Disputes arising under this Article are subject to grievance and arbitration, but an

arbitrator may not substitute his/her judgment of competency, consumer needs,
qualified agency needs and job performance for that of UCP’s determination unless

UCP’s determination is arbitrary or capricious.

Article 28
Due Process

A. Disciplinary Interviews
The Employer, the Union and Employees shell abide by the Weingarfen decision, 28

amended by law, when an Employee requests Union representation at a disciplinary
interview with Management.
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B, Discipline and Discharge

1, The Employer shall have the right to discharge, suspend, or discipline any
Employee for just cause.

2. Employees who are found, pursuant to an arbitration proceeding, to have
engaged in a heinous or detestable act of abuse against a consumer, will be
terminated. Employees who have been the subject of false or inconclusive
accusations of such an act will be made whole.

C, Employee Investigations
The parties have agreed to a “Fact Sheet on the Investigation Process”, a copy of

which is contained in Appendix B and deemed a part of the collective bargaining
Agreement,

Article 29
Grievance and Arbitration Procedure

A. Definition
A grievance is a claim that a provision of this Agreement has been violated, The

Union or the Employer may initiate a grievance.

B. Informal Resolution

It is the intent of the parties to resolve individual grievances promptly, without
recourse to the formal grievance procedure, Therefore, an individual grievant and the
Chapter Leader (or his/her designated representative) shall meet with the immediate
supervisor and attempt to resolve the grievance informally, If there is no resolution,

the formal grievance procedure shall apply.

It is mutually agreed that nothing herein will prevent the Employee from voluntarily
discussing problems with his/her supervisor or other representatives of Management
with or without his/her union representative prior to initiating a formal grievance or
prior to exercising his/her Weingarten Rights under Article 28 (Due Process) of this
Agreement. However, neither the Employer nor the Union shall intimidate, coerce, or
cause an Employee or Manager to suffer any reprisals, either directly or indirectly,
that may adversely affect his or her hours, wages, or working conditions as the result
of the exercise of his or her rights under this Article.

C. Formal Grievance Procedures

1. Grievances Initiated by the Union

Upon request of either party, the Union and the Employer will exchange lists of
individuals who may act in the capacity of “designated representative” (for the
Union) and “designee” (for the Employer) at Step One and Step Two, and update as

appropriate
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Step One
A forma! grievance shall be submitted by the Union to the Employer’s Designee

(“Designee”) within ten days of the date the facts giving rise to the grievance
were known to the grievant or reasonably should have been known. The grievance
Shall be in writing and shall set forth the claim and identify the contractual
provision(s) alleged to have been violated and the bargaining unit member(s)
affected. [t shal} also set forth the remedy sought.

The Designee or designated alternate shall meet with the grievant and the Chapter
Leader (or his/her designated representative) within ten days of the submission of
a formal grievance. The written decision of the Designee, will be given to the
Chapter Leader (or his/her designated representative) and the grievant within ten

days of the meeting at this Step.

Step Two

ifthe grievance is not resolved at Step One, the Union may appeal! in writing to
the Executive Director of UCP (ar designee) within ten days after receiving the
Step One answer. The Executive Director or designee shal! meet with the grievant
and the Chapter Leader (or his/her designated representative) within ten days after
receipt of the appeal and attempt to resolve the grievance. The answer of the
Executive Director or designee shal! be given in writing to the Union within ten
days after the meeting and shall set forth the reason if the grievance is denied.

2, Group Grievances
Upon written agreement of the Union and the Employer, the Union shall have the

right to initiate a Step Two grievance which affects a substantial number or class
of Employees and which the Employer’s representative designated in Step One
lacks authority to settle. Such grievance shall be filed within ten days after the
facts giving rise to the grievance were known or reasonably should have been

known,

3. Grievances Initiated by the Employer
UCP may file a grievance against the Union by submitting to the Union President

(or designee) a written statement of the grievance within ten days of the date the
facts giving rise to the grievance were known to UCP or reasonably should have
been known, A meeting between UCP and UFT to discuss the grievance will be
convened within ten days thereafter. In the event that UCP and UFT are unable to
resolve the grievance, the grievance may be submitted to arbitration by the
Employer in the same way the Union submits its grievances to arbitration

hereunder.

D. Arbitration

Ifthe grievance is not resolved at Step Two, the Union, within fifteen days after
receiving the Step Two answer or after the failure to answer within the time limit,
may submita notice of arbitration ta the Employer, with a copy to the American
Arbitration Association (AAA). The notice shall inolude a brief statement setting
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forth the issue to be decided by the arbitrator, the specific provision(s) of the
Agreement involved and the remedy sought.

The Union shall request the AAA to submit simultaneously to each party an identical
list ofnames chosen from the Pane! of Labor Arbitrators for selection of an arbitrator,
in accordance with the Labor Arbitration Rules of the AAA, to hear and decide the

Case,

The arbitration shall be handled in accordance with the then existing Labor
Arbitration Rules of the AAA related to the hearings and fees and expenses. The
arbitrator shall have no authority to add to, subtract from, alter, amend or in any way
modify the terms and provisions of the Agreement. The fees and expenses of the
arbitration shall be borne equally by the Employer and the Union. Each party shal}
bear the expenses of preparing and presenting its case at arbitration. The arbitrator’s
written decision and opinion shall be issued not later than thirty days from the close
of the hearings. The decision shall be final and binding on the Union, the Employer

and the Employees.

iE. Time Limits

l, The time Hrnits specified in this Article shall be deemed to be exclusive
of Saturdays, Sundays and holidays,

2, Failure on the part of the Union to appeal a grievance to the next step
within the specified time limit shall be deemed to be acceptance of the
decision rendered at that step. Failure on the part of the Employer to
answer a grievance at any step within the specified time limit shall not
be deemed acquiescence thereto and shall entitle the Union to proceed
to the next step or to arbitration, as applicable,

3. Agrievance concerning discharge or suspension may be initiated by the
Union at Step Two of the formal grievance procedure provided that it is
initiated within the time period set forth in Step One.

4., In any specific grievance the time limit at any step may be extended by
written agreement between the Employer representative at that step and
the Chapter Leader (or his/her designated representative).

>. Failure on the part of the Union or the Employer to submit a grievance
within the time limits shall result in the forfeiture of the right to file the

grievance with prejudice,

Article 3G
Personnel Files

1. There shall be only one official personnel file for each Employee located within
the UCP Human Resources Department, Each Employee shall have free access
Gwhich shal} not be abused) to his/her file for the purpose of examination and
making copies of materials within the file.
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2, Materials placed in the personnel file should only be job-related and not related to
personal matters—~such as family situations, ete.

3, No materials except those to which the Employee has had a chance to read, sign
and/or respond to in writing shall be placed in the file.

4, Material in the personnel file that is shown to be false or inaccurate as a result of @
grievance arising under Article 288 (Discipline and Discharge) shall be corrected
or expunged as appropriate, in accordance with the express terms of the decision

in the grievance or arbitration.

Article 31
Confidentiality

The parties will comply with the agency’s confidentiality policy.

Article 32
Health and Safety

1. The Employer, the Union and the Employees shall comply with applicable
Federal, State, and City health and safety statutes, rules, and regulations.

2. The Employer will respond in a timely fashion to health and safety issues.

Article 33
Separation From Employment

1. Any Employee who terminates his/her employment by resignation shall give the
Employer two (2) weelss advance written notice.

2. Exceptions to the two weeks written notice requirement for reasons of hardship
shall not be unreasonably denied.

3. The eftective date of notice is the date the resignation letter is received in the
Director’s Office. Upon receipt of such notice, the Director or his/her designee
will provide the Employee with a written acknowledgment of the effective date of

resignation,

4, Upon separation from employment, the Employer shall pay the following to
Employees who provide the required notice and according to applicable law—-
accrued but unused vacation time to a maximum of one and one-half (1 4) times
the annual accrual for full time Employees; or for part-time Employees, the pro-
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rated equivalent based upon their part-time schedule and the pro-rated vacation
hmits for full-time Employees.

If the above notice and dates are not complied with, except in cases of hardship as
above, an Employee shall forfeit accrued but unused vacation time. Accrued
unused sick, personal days, and holidays are not payable at termination or

resignation,

During the resignation notice period Employees will not be entitled to use sick,
vacation, floating holidays, or personal time.

Article 34
Severability

Should any part of this Agreement or any provision contained herein be rendered or
declared invalid by reason of any existing or subsequently enacted legislation or by a
court of competent jurisdiction, such invalidation of such part or provision of this
Agreement shal! not invalidate the remaining portions of this Agreement and they shall
remain in full force and effect, Neither shall any provision of this agreement negate any

applicable stature or regulation.

This Agreement shall constitute the sole and entire agreement between the parties with
respect to rates of pay, wages, hours and all other conditions of employment. It may not
be amended, modified, waived, extended or otherwise revised except by agreement in

writing duly executed by the parties.

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Article 35
No Strike- No Lockout

During the term of this Agreement, the Union, on behalf of its officers, agents and
members, agrees that there shall be no strikes (economic, unfair labor practice,

- sympathy or otherwise), slowdowns, walkouts, sit-downs, picketing or boycotts

which interfere in any manner with the Employer’s operations. Such prohibition
does not prevent off duty Employees or Union staff from engaging in lawful
organizing activities at non-organized employer facilities.

During the term of this Agreement the Employer, on behalf of its officers,
administrators, supervisors and agents, agrees that there shall be no lockouts of
Employees covered by this Agreement,

The term “strike” shall include a refusal to report for work because of a primary
or secondary picket line at the Employer’s premises so long as the Employer
provides safe access to its premises.

If during the term of this Agreement a strike or a lock-out occurs, the Union Gf
there is a strike) or Employer (if there is a lock-out) within twenty-four hours ofa

request by the other party shall:
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a. Publicly disavow such action
b, Advise the other party in writing that such action has not been called or

sanctioned by it.
c. Notify the participants of its disapproval of such action, instruct them to
cease the action and return to work immediately.

Article 36

Management’s Rights
Except as otherwise specifically provided, limited or modified by this Agreement
the Employer retains the exclusive right to manage the business, to direct, control
and schedule its operation and workforce, and to make any and all decisions
affecting the business whether or not specifically mentioned herein and whether
or not heretofore exercised. Examples of such prerogatives shall include, but not
be limited to, the sole and exclusive rights to: hire, promote, layoff, assign,
transfer, suspend, discharge and discipline Employees; select and determine the
number of Employees, including the number assigned to any particular work;
increase or decrease that number: direct and schedule the workforce; determine
the location and type of operation; determine and schedule when overtime shall be
worked: install or remove equipment and determine the methods, procedures,
materials and operations to be utilized provided that Employees shall be trained
by the Employer in the safe and effective use of any such equipment, methods,
procedures, materials and operations; transfer or relocate any or all of the
operations by sale or otherwise, in whole or in part; determine the work duties of
Employees; promulgate, post and enforce rules and reguiations governing the
conduct and acts of Employees during working hours; discontinue or reorganize
or combine any operation with any consequent reduction or other change in the
workforce; establish, change, combine or abolish job classifications; determine
work performance levels and standards of performance of the Employees and in
al} respects carry out the ordinary and customary functions of management.
The Employer’s failure to exercise any of the functions stated herein shall not
constitute a waiver thereof.
The Employer has the right to schedule its management and supervisory
personnel, Supervisors will not regularly perform bargaining unit work, but may
do so as necessary, The selection of supervisory personnel shall be the sole
responsibility of the Employer, and such selection shall not be subject to the
grievance and arbitration provisions of this Agreement.
The foregoing statement of the rights of Management and of Company functions
are not all-inclusive, but indicate the type of matters or rights which belong to and
are inherent in management and shall not be construed in any way to exclude
other ordinary and customary Employer functions not specifically enumerated
above. .
It is understood that woon demand by the Union, the Employer shall negotiate
regarding its decisions and/or the impact of the decisions as raandated by

applicable law,
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Article 37
Ceoperation Between the Parties

UCP and the UST will cooperatively attempt to maximize UCP revenues and funding and

enhance employee salaries and benefits by approaching City, State, and Federal!
governments. Utilization of said enhanced revenues and funding will be discussed by the

parties in advance.

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Exhibit A
Payroll Deduction Authorization

Pursuant to applicable law, I assign to the United Federation of Teachers (UFT)
from my compensation as any employee of United Cerebral Palsy of NYC (hereinafter
called “my employer’) one percent (.01) of my gross pay or such different amount as
UFT fixes as its regular dues, and direct my employer to withhold this surn from the

compensation due me each pay period and remit it to the UFT.
I submit this assignment and authorization with the understanding that it will be

effective and irrevocable for a period of one year from this date or up to the termination
date of the current Collective Bargaining Agreement between my employer and the UFT,
whichever occurs sooner.

The authorization and assignment shall continue in full force and effect for yearly
periods beyond the irrevocable period set forth above and each subsequent yearly period
shall be similarly irrevocable unless revoked by me within the 30 day period preceding
expiration of such irrevocable period, Such revocation shatl be effected by simultaneous
written notice by registered or certified mail to my employer and the UFT which must be

delivered within such 30 day period.

The assignment and authorization are effective at once.

Date

 

Employee Signature

 
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APPENDIX B

Fact Sheet on the Investigation Process

The following steps are taken when an allegation of client abuse is made against an
agency Employee.

I.
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An Incident Report Form is completed and submitted to the Program Director,

An Employee accused of client abuse will immediately be placed on
administrative leave. This means suspended without pay. During the period of
administrative leave, the Employee is noi permitted on any agency property
unless he/she receives prior approva! from his/her Programm Director.

The agency will assign a member of Management to investigate the allegation(s)
of abuse, The investigator should not work at the site or be responsible for
supervising the site of the Employee under investigation,

The investigator will explain to each Employee witness the reason behind the
investigation. He/she will also inform each Employee witness that regulations and
agency policy require them to cooperate in an investigation. Employees who
refuse to cooperate in an agency investigation or sign a statement will be
informed that they may face disciplinary action.

Interviews will be conducted in a place that provides privacy.

The investigator will interview potential witnesses, including staff and clients.
He/she will also interview the affected client and staff member who was placed

on administrative leave.

The investigator will talce statements from witnesses, the affected client and the
Employee being accused. Individuals who provide statements will be asked to
read their statements or, if necessary, will have their statements read hack ta therm,

suggest any changes, and then sign them. These individuals are not entitled to and
will not receive a copy of their staterments.

Employees entitled to union representation, pursuant to thei Weingarten Rights,
nay be accompanied by the representative during questioning.

The investigation is usually concluded within five working days of the date that
the alleged abuse was reporied to the Programa Director.
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i0, Based on the results of this investigation, one of the following actions will be
taken:

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If the charges are substantiated, the Employee wil! be terminated retroactive to
his/her date of suspension and not entitled to any back pay.

If the charges are false or inconclusive, the Employee will be reinstated with
full back pay.

in sore cases where the results of an investigation are inconclusive, the
affected Employee may be transferred to another program. This Employee
will be reinstated with full back pay.
UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK
SES OE Ta AE eee eee x Docket No.: 12-CV-2149

SHERRY GRANT,
Plaintiff,
-against-
UNITED FEDERATION OF TEACHERS, UNITED
CEREBRAL PALSY OF NEW YORK CITY, INC.,
EVERETT WATTS, and PATRICIA TRAYNOR,

Defendants.

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AMENDED COMPLAINT

 

 

Kathy A. Polias
Attorney-at-Law
155 Water Street
Brooklyn, NY 11201
Tel. No.: (718) 514-2062
